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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

JOE HOLCOMBE, Individually and as §           No. 5:18–CV–555–DAE (lead case)
the Representative of the Estate of John §
Bryan Holcombe, ET AL.,                  §
                                         §
      Plaintiffs,                        §
                                         §
vs.                                      §
                                         §
UNITED STATES OF AMERICA,                §
                                         §
      Defendant.                         §
                                         §
MARGARETTE VIDAL, ET AL.,                §    No. 5:18–CV–712–DAE
                                         §
      Plaintiffs,                        §
                                         §
vs.                                      §
                                         §
UNITED STATES OF AMERICA,                §
                                         §
      Defendant.                         §
                                         §

                  ORDER GRANTING THE PARTIES’ JOINT
                   MOTIONS TO CONSOLIDATE CASES

            Before the Court are two motions: (1) a Joint Motion to Consolidate

Cases filed in Holcombe et al. v. United States of America, 5:18-CV-555-DAE, by

Joe Holcombe, individually and as the representative of the Estate of John Bryan

Holcombe (“Holcombe”), et al. and the United States of America on August 6,

2018 (Civil Action No. 5:18-CV-555, Dkt. # 5); and (2) a Joint Motion to

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Consolidate Cases filed in Vidal et al. v. United States of America,

5:18-CV-712-DAE, by Margarette Vidal (“Vidal”) et al. and the United States of

America on August 6, 2018 (Civil Action No. 5:18-CV-712-DAE, Dkt. # 7). In

their motions, the Parties—i.e., Holcombe et al., Vidal et al., and the United States

of America (collectively, the “Parties”)—request that the Court consolidate Civil

Action No. 5:18-CV-712-DAE with Civil Action No. 5:18-CV-555-DAE.

             Pursuant to Local Rule CV-7(h), the Court finds these matters suitable

for disposition without a hearing. After careful consideration of the memoranda

filed in support of the motions, the Court—for the reasons that follow—GRANTS

the Parties’ Motions to Consolidate. (Civil Action No. 5:18-CV-555, Dkt. # 5;

Civil Action No. 5:18-CV-712-DAE, Dkt. # 7.)

             Federal Rule of Civil Procedure 42(a) provides that if actions “involve

a common question of law or fact,” the court may “consolidate the actions” or

“issue any other order to avoid unnecessary cost or delay.” Fed. R. Civ. P. 42(a).

The decision to consolidate actions under Rule 42(a) is “entirely within the

discretion of the district court as it seeks to promote the administration of justice.”

Gentry v. Smith, 487 F.2d 571, 581 (5th Cir. 1973).

             The Court has reviewed the pleadings in each case and finds that the

cases involve common questions of law and fact as: (1) both cases arise from the

mass shooting perpetrated by Devin P. Kelley at the First Baptist Church of

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Sutherland Springs on November 5, 2017; and (2) both complaints are currently

based on a theory of negligence and are brought pursuant to the Federal Tort

Claims Act, 28 U.S.C. §§ 2671–2680. The Court therefore GRANTS the Parties’

Motions to Consolidate. (Civil Action No. 5:18-CV-555, Dkt. # 5; Civil Action

No. 5:18-CV-712-DAE, Dkt. # 7.) In lieu of consolidating the cases for pre-trial

proceedings as requested by the Parties, the Court consolidates the cases for all

purposes to avoid unnecessary cost or delay and promote the administration of

justice.

             Accordingly, the Court ORDERS that Vidal, et al. v. United States of

America, 5:18-CV-712-DAE, be consolidated with Holcombe et al. v. USA,

5:18-CV-555-DAE, for all purposes. As the first-filed case, the Court designates

Civil Action No. 5:18-CV-555-DAE as the lead case. The Court DIRECTS the

parties to make any subsequent filings in the lead case, 5:18-CV-555-DAE.

             IT IS SO ORDERED.

             DATED: San Antonio, Texas, August 27, 2018.



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